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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

UPROOT LINT,
                                                    Case No. 22-cv-4925
               Plaintiff,
                                                    Judge Jorge L. Alonso
v.

THE PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE "A",
               Defendants.

                                DEFAULT JUDGMENT ORDER

        This action having been commenced by Plaintiff Uproot Lint, LLC (“Uproot”) against the

defendants Does #138 (OJJ-LL), #190 (KEHOO), and #252 (ILAIQKOLLC), and using the

Defendant Domain Names and Online Marketplace Accounts identified on Schedule A

(collectively, the “Defendant Internet Stores”), and Uproot having moved for entry of Default and

Default Judgment against the defendants identified on the amended Schedule A attached hereto

(collectively, “Defendants”);

        This Court having previously entered a temporary restraining order; Uproot having

properly completed service of process on Defendants, (the combination of providing notice via

electronic publication and e-mail, along with any notice that Defendants received from domain

name registrars and payment processors, being notice reasonably calculated under all

circumstances to apprise Defendants of the pendency of the action and affording them the

opportunity to answer and present their objections); and this Court having granted Plaintiff’s

request for default sanctions as to Defendants pursuant to Plaintiff’s Emergency Motion For

Sanction and Default (Dkt. 170);
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        This Court finds that it has personal jurisdiction over Defendants because Defendants

 directly target their business activities toward consumers in the United States, including

 Illinois. Specifically, Uproot has provided a basis to conclude that Defendants have targeted

 sales to Illinois residents by setting up and operating e-commerce stores that target United

 States consumers using one or more seller aliases, offer shipping to the United States, including

 Illinois, and have sold products using infringing and counterfeit versions of Uproot’s federally

 registered trademarks (the “Uproot Trademarks”) to residents of Illinois. In this case, Uproot

 has presented screenshot evidence that each Defendant e-commerce store is reaching out to do

 business with Illinois residents by operating one or more commercial, interactive internet stores

 through which Illinois residents can and do purchase products using infringing and/or

 counterfeit versions of the Uproot Trademarks. See Docket No. 9-3 through 9-13, which

 includes screenshot evidence confirming that each Defendant e-commerce store does stand

 ready, willing, and able to ship its infringing and/or counterfeit goods to customers in Illinois

 bearing infringing and/or counterfeit versions of the Uproot Trademarks.

       A list of the Uproot Trademarks is included in the below chart.


 Registration Numbers                Registered Trademarks                International Classes
       6,812,291                       UPROOT CLEAN                              21, 35


        6,815,080                                                                    21




       This Court further finds that Defendants are liable for willful federal trademark

infringement and counterfeiting (15 U.S.C. § 1114), false designation of origin (15 U.S.C.




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§ 1125(a)), and violation of the Illinois Uniform Deceptive Trade Practices Act (815 ILCS § 510

et seq.).

        Accordingly, this Court orders that Uproot’s Motion for Entry of Default and Default

Judgment is GRANTED as follows, that Defendants are deemed in default, and that this Default

Judgment is entered against Defendants.

        This Court further orders that:

1.      Defendants, their officers, agents, servants, employees, attorneys, and all persons acting

        for, with, by, through, under, or in active concert with them be permanently enjoined and

        restrained from:

        a. using the Uproot Trademarks or any reproductions, counterfeit copies, or colorable

            imitations in any manner in connection with the distribution, marketing, advertising,

            offering for sale, or sale of any product that is not a genuine Uproot product or not

            authorized by Uproot to be sold in connection with the Uproot Trademarks;

        b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

            Uproot product or any other product produced by Uproot, that is not Uproot’s or not

            produced under the authorization, control, or supervision of Uproot and approved by

            Uproot for sale under the Uproot Trademarks;

        c. committing any acts calculated to cause consumers to believe that Defendants’ products

            are those sold under the authorization, control, or supervision of Uproot, or are

            sponsored by, approved by, or otherwise connected with Uproot; and

        d. manufacturing, shipping, delivering, holding for sale, transferring or otherwise moving,

            storing, distributing, returning, or otherwise disposing of, in any manner, products or

            inventory not manufactured by or for Uproot, nor authorized by Uproot to be sold or


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           offered for sale, and which bear any of Uproot’s trademarks, including the Uproot

           Trademarks, or any reproductions, counterfeit copies or colorable imitations.

2.      The domain name registries for the Defendant Domain Names, including, but not limited

        to, VeriSign, Inc., Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the Public

        Interest Registry, and the domain name registrars, including, but not limited to, GoDaddy

        Operating Company LLC, Name.com, PDR LTD. d/b/a/ PublicDomainRegistry.com, and

        Namecheap Inc., within seven (7) calendar days of receipt of this Order, shall, at Uproot’s

        choosing:

        a. transfer the Defendant Domain Names to Uproot’s control, including unlocking and

           changing the registrar of record for the Defendant Domain Names to a registrar of

           Uproot’s selection, and the domain name registrars shall take any steps necessary to

           transfer the Defendant Domain Names to a registrar of Uproot’s selection; or

        b. disable the Defendant Domain Names and make them inactive and untransferable.

3.      Defendants and any third party with actual notice of this Order who is providing services

        for any of the Defendants, or in connection with any of the Defendants’ Online

        Marketplaces, including, without limitation, any online marketplace platforms such as

        eBay, Inc., AliExpress, Alibaba Group Holding Ltd. (“Alibaba”), Amazon.com,

        ContextLogic, Inc. d/b/a Wish.com (“Wish.com”), Walmart, Inc., Joom.com, and Shopify,

        Inc. (collectively, the “Third Party Providers”), shall within seven (7) calendar days of

        receipt of this Order cease:

               a. using, linking to, transferring, selling, exercising control over, or otherwise

               owning the Online Marketplace Accounts, or any other online marketplace account




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               that is being used to sell or is the means by which Defendants could continue to sell

               counterfeit and infringing goods using the Uproot Trademarks; and

               b. operating and/or hosting websites that are involved with the distribution,

               marketing, advertising, offering for sale, or sale of any product bearing the Uproot

               Trademarks or any reproductions, counterfeit copies or colorable imitations thereof

               that is not a genuine Uproot product or not authorized by Uproot to be sold in

               connection with the Uproot Trademarks.

4.      Upon Uproot’s request, those with notice of this Order, including the Third-Party Providers

        as defined in Paragraph 3, shall within seven (7) calendar days after receipt of such notice,

        disable and cease displaying any advertisements used by or associated with Defendants in

        connection with the sale of counterfeit and infringing goods using the Uproot Trademarks.

5.      Pursuant to 15 U.S.C. § 1117(c)(2), Uproot is awarded statutory damages from each of the

        Defendants in the amount of $250,000 for willful use of counterfeit Uproot Trademarks on

        products sold through at least the Defendant Internet Stores. This award shall apply to each

        distinct Defendant only once, even if they are listed under multiple different aliases in the

        Complaint and Schedule A.

6.      Any Third Party Providers holding funds for Defendants, including PayPal, Inc.

        (“PayPal”), Alipay, Alibaba, Wish.com, Walmart Inc., Ant Financial Services Group (“Ant

        Financial”), and Amazon Pay, shall, within seven (7) calendar days of receipt of this Order,

        permanently restrain and enjoin any accounts connected to Defendants or the Defendant

        Internet Stores from transferring or disposing of any funds (up to the statutory damages

        awarded in Paragraph 6 above) or other of Defendants’ assets.




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7.       All monies (up to the amount of the statutory damages awarded in Paragraph 5 above)

         currently restrained in Defendants’ financial accounts, including monies held by Third

         Party Providers such as PayPal, Alipay, Alibaba, Wish.com, Walmart Inc., Ant Financial,

         and Amazon Pay, are hereby released to Uproot as partial payment of the above-identified

         damages, and Third Party Providers, including PayPal, Alipay, Alibaba, Wish.com, Ant

         Financial, and Amazon Pay, are ordered to release to Uproot the amounts from Defendants’

         financial accounts within fourteen (14) calendar days of receipt of this Order.

8.       If all monies currently restrained in Defendants’ financial accounts, including monies held

         by Third Party Providers such as PayPal, Alipay, Alibaba, Wish.com, Walmart Inc., Ant

         Financial, and Amazon Pay, do no satisfy the entire above-identified damages, such

         accounts shall remain restrained and any additional monies received into those accounts in

         the future shall continuously be released to Uproot as partial payment of the above-

         identified damages and Third Party Providers, including PayPal, Alipay, Alibaba,

         Wish.com, Walmart Inc., Ant Financial, and Amazon Pay, are ordered to continue to

         release those monies to Uproot until the entire above-identified damages amount has been

         satisfied. Although the financial accounts shall remain restrained, nothing herein shall

         restrict the Defendants from operating the associated Online Marketplace Accounts to sell

         products unrelated to Uproot, or bearing the Uproot Trademarks.

9.       Until Uproot has recovered full payment of monies owed to it by any Defendant, Uproot

         shall have the ongoing authority to commence supplemental proceedings under Federal

         Rule of Civil Procedure 69.

10.      In the event that Uproot identifies any additional online marketplace accounts or financial

         accounts owned by Defendants, Uproot may send notice of any supplemental proceeding,


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       including a citation to discover assets, to Defendants by e-mail at the e-mail addresses

       provided for Defendants by third parties.


This is a Default Judgment.



Dated: August 17, 2023
                                                                 ______________________
                                                                 Jorge L. Alonso
                                                                 United States District Judge




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                                Schedule A

Doe #   Market               Merchant Name                       Product ID

138     Amazon                   OJJ-LL                        B09BNL7JS8
138     Amazon                   OJJ-LL                        B09BNJ285K
138     Amazon                   OJJ-LL                        B09BNK5GFP
190     Amazon                  KEHOO                          B0818VG78C
252     Amazon                ILAIQKOLLC                       B094JVYMRR
